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                        UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA

 ALEIDA AQUINO, et al.,

                       Plaintiffs                    CIVIL ACTION NO. 3:24-CV-206

        v.                                                  (MEHALCHICK, J.)

 HAZLETON             AREA          SCHOOL
 DISTRICT,

                       Defendant

                             CASE MANAGEMENT ORDER

       AND NOW, this 27th day of January, 2025, in accordance with Federal Rule of Civil

Procedure 16(b) and Local Rule of Court 16.1, and following a telephonic case management

conference attend by all parties, during which the views of all counsel were solicited, IT IS

HEREBY ORDERED that:

       1. The following dates and deadlines shall govern the discovery and dispositive
          motions phase of the above-captioned civil action:

             Amendment of Pleadings:               February 28, 2025
             Fact Discovery:                       October 15, 2025
             Plaintiff’s Expert Reports:           November 12, 2025
             Defendant’s Expert Reports:           December 10, 2025
             Supplemental Expert Reports:          December 24, 2025
             Dispositive Motions and
                Supporting Briefs                  February 11, 2026

       2. On or before the close of fact discovery, the parties shall meet and confer and advise
          the Court by letter docketed in this case as to whether they wish to have a
          settlement conference or mediation scheduled in this matter, along with the parties’
          preference for assignment of a magistrate judge or court mediator to conduct the
          settlement conference or mediation.
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3. Any requests for extension of the discovery deadline must be made at least fourteen
   (14) days prior to the close of discovery. Requests for extensions of the above time
   periods will not be granted except for good cause.

4. Any requests for extension of the above time periods must be made by motions in
   conformity with Local Rule 5.1(g), 7.1, and 7.5 and must be signed by counsel in
   conformity with the Civil Justice Reform Act of 1990, 28 U.S.C.§ 473(b)(3).
   Counsel shall not mutually agree to extend any time periods covered by this order,
   the Federal Rules of Civil Procedure, or the Local Rules of Court without court
   approval.

5. If dispositive motions are not filed by the deadline established in paragraph 1, the
   court will schedule a telephonic conference call with the parties to discuss pretrial
   and trial scheduling. If the parties determine in advance of the dispositive motion
   deadline that no such motions will be filed, the parties shall so notify the court.

6. The Clerk of Court shall issue the standard civil practice order forthwith. Counsel
   and pro se parties are responsible for reading the civil practice order thoroughly
   upon receipt and for reviewing it regularly as the case proceeds.


                                    BY THE COURT:

                                    /s/ Karoline Mehalchick
                                    KAROLINE MEHALCHICK
                                    United States District Judge




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